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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
  ---------------------------------------------------x
  UNITED STATES SECURITIES AND                           Case No. 2:19-cv-05536-WJM-MAH
  EXCHANGE COMMISSION,
                                                          CERTIFICATION OF KEVIN H.
                         Plaintiff,                         MARINO IN OPPOSITION
                                                            TO PLAINTIFF’S MOTION
              v.                                           FOR SUMMARY JUDGMENT
                                                              AND IN SUPPORT OF
  GENE DANIEL LEVOFF,                                     DEFENDANT’S CROSS-MOTION
                                                           FOR SUMMARY JUDGMENT
                         Defendant.
                                                             (Document filed electronically)
  ---------------------------------------------------x

         KEVIN H. MARINO, of full age, hereby certifies, pursuant to 28 U.S.C.

  § 1746, as follows:

         1.        I am an attorney at law of the State of New Jersey and a member of the

  law firm of Marino, Tortorella & Boyle, P.C., which represents Defendant, Gene

  Daniel Levoff (“Levoff”), in this action. I am fully familiar with the facts set forth

  in this Certification, which I submit in (i) opposition to the motion for summary


                                                    1
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  judgment of Plaintiff, United States Securities and Exchange Commission; and

  (ii) support of Levoff’s cross-motion for summary judgment.

        2.    Attached to this Certification as Exhibit A is a true and correct copy of

  the transcript of Levoff’s sentencing on December 7, 2023, in United States v. Gene

  Levoff, Criminal No. 2:19-cr-00780-WJM (the “Criminal Action”).

        3.    Attached to this Certification as Exhibit B is a true and correct copy of

  the Indictment, dated October 24, 2019, in the Criminal Action.

        4.    Attached to this Certification as Exhibit C is a true and correct copy of

  the transcript of Levoff’s plea hearing on June 30, 2022, in the Criminal Action.

        5.    Attached to this Certification as Exhibit D is a true and correct copy of

  the Presentence Report, dated November 9, 2023, in the Criminal Action.

        6.     Attached to this Certification as Exhibit E is a true and correct copy of

  the Satisfaction of Judgment, dated December 22, 2023, in the Criminal Action.

        7.     Attached to this Certification as Exhibit F is a true and correct copy of

  the report of Dr. Catherine Barber dated March 14, 2023.

        8.     Attached to this Certification as Exhibit G is a true and correct copy of

  the report of Dr. Catherine Barber dated November 8, 2023.




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        I certify under penalty of perjury, pursuant to 28 U.S.C. § 1746(2), that the

  foregoing is true and correct.

  Dated: June 3, 2024

                                          _____________________________
                                          Kevin H. Marino
                                          MARINO, TORTORELLA & BOYLE, P.C.
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                                          Attorneys for Defendant
                                          Gene Daniel Levoff




                                            3
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          EXHIBIT A
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                                                                                         1

   1                      UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
   2    _______________________________

   3    UNITED STATES OF AMERICA,                  CRIMINAL ACTION NUMBER:

   4                                                 2:19-cr-00780
        vs.
   5                                                    SENTENCING
        GENE LEVOFF,
   6
                  Defendant(s).
   7    ________________________________
        MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
   8    50 Walnut Street, Newark, New Jersey 07101
        December 7, 2023
   9    Commencing at 1:31 p.m.

  10    B E F O R E:          THE HONORABLE WILLIAM J. MARTINI,
                              UNITED STATES DISTRICT JUDGE,
  11

  12    A P P E A R A N C E S:

  13    OFFICE OF THE UNITED STATES ATTORNEY
        BY: JOSHUA L. HABER, ASSISTANT UNITED STATES ATTORNEY
  14    970 Broad Street
        Newark, New Jersey 07102
  15    For the Plaintiff

  16
        MARINO TORTORELLA & BOYLE, P.C.
  17    BY: KEVIN H. MARINO, ESQUIRE
            JOHN D. TORTORELLA, ESQUIRE
  18        JOHN A. BOYLE, ESQUIRE
        437 Southern Boulevard
  19    Chatham, New Jersey 07928
        For the Defendant
  20
        A L S O P R E S E N T:
  21    GENE LEVOFF, Defendant
        CHRISTOPHER FAVAZZA, U.S. PROBATION OFFICER
  22
                       Diane DiTizii, Official Court Reporter
  23                       diane_ditizii@njd.uscourts.gov
                                   (973) 776-7738
  24
        Proceedings recorded by mechanical stenography; transcript
  25               produced by computer-aided transcription
                             United States District Court
                                   Newark, New Jersey
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   1    (PROCEEDINGS held in open court before the Honorable WILLIAM J.

   2    MARTINI, United States District Court Judge, at 1:31 P.M.)

   3               THE COURT CLERK:      All rise.

   4               THE COURT:      Be seated.    Thank you.      Good afternoon.

   5               All right.      Everyone be seated, please.

   6               This is on the matter of United States of America

   7    versus Gene Levoff.

   8               Can I have the appearance of counsel, please.

   9               MR. HABER:      Good afternoon, Your Honor.         Joshua

  10    Haber, Assistant United States Attorney, for the government.

  11               THE COURT:      Good afternoon.      Thank you.

  12               MR. MARINO:      Good afternoon, Your Honor.         Kevin

  13    Marino, Marino Tortorella & Boyle, for the defendant Gene

  14    Levoff.

  15               With me at counsel table is my partner, John

  16    Tortorella, and in the first row my partner John Boyle.

  17               Also, Your Honor, Dr. Catherine Barber, who made a

  18    submission to Your Honor, is in the courtroom as well.

  19               THE COURT:      All right.    Welcome to all of you and

  20    good afternoon.       Mr. Levoff is here, of course.

  21               All right.      We're here for the sentencing of

  22    Mr. Levoff.

  23               First of all, let me make sure everybody has received

  24    a copy of the presentence report.

  25               For the government, you received a copy of it,
                             United States District Court
                                   Newark, New Jersey
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   1    correct?

   2               MR. HABER:      Yes, Judge.

   3               THE COURT:      And Mr. Marino, you received a copy of

   4    the presentence report?

   5               MR. MARINO:      Yes, we did, Your Honor.

   6               THE COURT:      Do you have any new objections or

   7    exceptions to it?

   8               MR. MARINO:      I do not, Your Honor.

   9               THE COURT:      And, of course, the Court has received

  10    that and gone over it thoroughly.

  11               In addition to that, I received from defense counsel

  12    Mr. Marino a very extensive and thorough memorandum of

  13    sentencing, along with a number of submissions which I've read,

  14    including the report from Dr. Barber, I think it was, which I

  15    have gone over thoroughly.

  16               I assume the government's gotten a copy of that as

  17    well, correct?

  18               MR. HABER:      Yes.    Thank you.

  19               THE COURT:      Okay.     And I also received from the

  20    government their sentencing memorandum dated November 22nd,

  21    which, of course, I've gone over thoroughly.

  22               The presentence report, the guideline analysis there

  23    comes up with a Total Offense Level of 17 and Criminal History

  24    Category of 1.

  25               Does anybody disagree with that as a guideline
                             United States District Court
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                                                                                         4

   1    analysis?

   2                MR. HABER:     No objection.

   3                MR. MARINO:     We do not, Your Honor.

   4                THE COURT:     You could remain seated and just pull the

   5    microphones closer to you and just speak right into the

   6    microphone.   That would be easier.

   7                All right.     The defendant pled guilty to six counts,

   8    Count 1, 2, 3, 4, 5 and 6.       Basically in summary, securities

   9    fraud.   He was arrested on February 20th, 2019 and released at

  10    that time on a $500,000 secured appearance bond and he's been

  11    out since that date.

  12                As I just indicated, there's no prior criminal

  13    history and the guideline would recommend the sentencing of 24

  14    to 30 months to run concurrently; however, the parties have

  15    entered into a Rule 11 (c)(1)(C) agreement in which they've

  16    agreed that the range of sentencing can be anywhere from zero

  17    to 20 months.

  18                Everyone agrees with my statements up to this point?

  19                MR. HABER:     Yes, Your Honor.

  20                THE COURT:     Just a moment.

  21                With those opening remarks, let me hear from you,

  22    Mr. Marino, first, and -- here it is, okay.             You could come

  23    forward, if you wish.

  24                MR. MARINO:     Thank you very much, Your Honor.

  25                First, Your Honor, let me thank you for the attention
                             United States District Court
                                   Newark, New Jersey
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   1    that I know you've paid to this matter.           We made our submission

   2    in advance of the originally scheduled sentencing date and at

   3    the Court's instance, the sentencing date was moved to give

   4    Your Honor the opportunity to review those materials.               And I'll

   5    tell you, it's tremendously significant to us, not surprising,

   6    but very much appreciated.       It's always comforting to know that

   7    the court is paying the kind of attention that this Court has

   8    been paying to this -- to this sentencing and to this case as a

   9    whole.   So we appreciate that very much.

  10               THE COURT:      You're welcome.

  11               MR. MARINO:      Your Honor, I, in many years of having

  12    the privilege and the pleasure of representing individuals

  13    accused of crimes, I don't believe I've ever come across

  14    someone quite like Gene Levoff.         You've got the benefit not

  15    only of Dr. Barber's two reports that Your Honor averted to a

  16    moment ago, but also more than two dozen additional letters

  17    from people who really know and have interacted with and

  18    experienced the person that Gene Levoff is throughout the

  19    course of his lifetime.

  20               And we've all seen situations where, for example,

  21    someone who's in public life, celebrity or a public figure, a

  22    politician, it's not too difficult for those folks to garner

  23    quite a bit of support in the form of letters.             It seems

  24    someone's always ready to line up and write a letter to support

  25    someone who's a public figure, a celebrity.
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                                   Newark, New Jersey
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  1               Gene Levoff is neither of those but he is an

  2    individual who has in his everyday life, for the entire

  3    duration of that life, conducted himself in the way that we

  4    hope our children will conduct themselves, we hope that our

  5    closest colleagues and friends will conduct themselves, we hope

  6    we ourselves are able to conduct ourselves.

  7               The letters are pretty extraordinary.          Your Honor's

  8    been doing this for a long time.       You see a lot of letters.

  9    I've seen quite a few letters also, but I don't think I've ever

 10    seen anything like the letters that describe this truly decent,

 11    truly intentional-living good person who has overcome a raft of

 12    mental and emotional problems that bring us here today.

 13               In white collar cases, it's very, very unusual to

 14    find someone who is -- who has committed an offense that was

 15    not motivated by greed.     I think it's very clear that

 16    Mr. Levoff's offense was not greed-driven.           I think it's -- and

 17    Your Honor has the benefit of this.        I won't regurgitate

 18    everything that Dr. Barber has said, but what has struck me

 19    throughout from the moment that I met him, which was quite a

 20    long time ago, the intercession of the pandemic of course

 21    contributed to that.    This is a case that's been pending

 22    literally for five plus years, but it's -- it's really

 23    something the extent to which Mr. Levoff has used this very

 24    significant bump in the road of his life, this aberrational

 25    behavior, to change entirely who he is in terms of outlook.
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  1    He's always been a person who's been incredibly decent and

  2    incredibly thoughtful and caring person, but as you see from

  3    Dr. Barber's report, someone who was troubled -- very troubled

  4    from a very early age.

  5               You know, he was -- he was a person who couldn't

  6    figure out how to get out of a very unpleasant situation

  7    working at Apple.     A situation that had become untenable for

  8    him, but he was torn.     He certainly didn't want to disappoint

  9    his parents and disappoint all those who sacrificed for him.

 10    Man born in Russia, came to this country as a young man.             And

 11    the very difficult childhood and adolescence and young

 12    adulthood that he experienced, which is detailed in the letters

 13    that Your Honor has received, really set him on a path that at

 14    the end of the day led him to the outwardly apparently

 15    tremendously successful but inwardly incredibly tortured and

 16    tormented and troubled.

 17               So here we are.    Gene Levoff has committed the

 18    offense of insider training and done it in a way that is not

 19    like any other insider trading case I have ever seen.             It is

 20    not a situation where, to be quite honest, this amount of money

 21    was significant to Gene Levoff.      In the course of his lifetime

 22    as a corporate secretary at Apple and someone who is quite a

 23    senior executive there, someone who is relied upon to give

 24    legal advice to that enormously successful company.            He made a

 25    lot of money and had a lot of money.        And I think it's pretty
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  1    clear from Dr. Barber's report that she shares this view and

  2    she's diagnosed him with four separate disorders.

  3               The heart of this is, this is not a person who

  4    thought, Let me figure out a way to grab a few dollars from

  5    Apple.   It was more a person who said, Let me figure out a way

  6    to get the hell out of here.

  7               THE COURT:    Well, I mean, I know that's your argument

  8    but there's another way to get out.        Just resign.

  9               MR. MARINO:    Well, for you and me, that might be

 10    easier for you to do.

 11               THE COURT:    I mean, I know that -- I don't mean to --

 12    but I'm just saying when you say that was his motivation, to

 13    break the law to get out of Apple.

 14               MR. MARINO:    Well, that's hardly clear thinking,

 15    right, Your Honor?

 16               THE COURT:    I mean, yes, consistent with what you're

 17    saying, as far as I know -- and I think, Mr. Haber, are you

 18    there?

 19               MR. HABER:    Yes, Your Honor.

 20               THE COURT:    I know you're there.

 21               I don't think there was anything on his behalf to try

 22    to conceal what he was doing.

 23               MR. MARINO:    Zero.

 24               THE COURT:    He did it in his own name.

 25               MR. MARINO:    Judge, this is a man who, as you're
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  1    saying, he's setting the window, right, at which one can buy

  2    and sell.    He was restricted from buying and selling, and then

  3    in his own name makes these trades during that period.

  4                Dr. Barber tells us that's a cry for help.          You and I

  5    can easily say, Hey, we don't like our job, we're leaving.

  6    We're not going to stick around in a job we don't like.             We

  7    know how to get out.    We quit.

  8                But what we've learned about Gene Levoff's psyche --

  9    and I'm not suggesting and haven't suggested this is something

 10    that would rise to the level of a diminished capacity defense.

 11    That's not what I'm driving at.      What it's really focused on --

 12    and I think Your Honor can appreciate this -- is trying to

 13    steer you or lead you to a resolution of this most difficult

 14    case that takes account of the unique nature of this particular

 15    offender and this particular offense.

 16                So sure, we can say, Oh, he didn't like the job, we

 17    just quit it.   We didn't like what we were being asked to do,

 18    we just quit.   We didn't like the position that had been

 19    assigned to us or the things that we were expected to do for

 20    the Apple executives.     We didn't like that.       It didn't jive

 21    with our own sense of propriety, appropriateness, honesty, what

 22    have you.

 23                But for someone like Gene Levoff, this was the path

 24    out.   Not for myself, not for Your Honor, not for many people,

 25    but Mr. Levoff is not many people and the circumstances in
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  1    which he found himself and his own unique psychological

  2    difficulties, I would suggest to Your Honor tells a great deal

  3    about why this would happen.

  4               You know, when I first had this case -- and there

  5    have been, well, a litany of prosecutors over the years that

  6    have handled it because it's gone on for so long.            It's been

  7    passed from one to the other.       But early on, you know, I found

  8    myself saying to one of Mr. Haber's predecessors, you know,

  9    when a case is this easy for you, maybe that's the moment to

 10    take an extra hard look at it and ask yourself, why?            Why is it

 11    this easy?   Why is someone who graduated from Stanford Law

 12    School and was universally revered by his colleagues and

 13    friends, beloved, respected, someone to turn to in a pinch, why

 14    is he committing a crime that is -- as Your Honor has said --

 15    no attempt whatsoever to conceal it.        No attempt whatsoever.

 16               And why is that important?       It's important because

 17    when you make an attempt to conceal, you're underscoring the

 18    nature of your intent to do wrong.       I'm not suggesting that

 19    Mr. Levoff lacked the intent to commit the crime.            If he did,

 20    we wouldn't be here.    We would have tried this case in this

 21    courtroom.

 22               What I'm suggesting is it really does give us insight

 23    into what's going on.

 24               The reason I think back in 2007, the Supreme Court

 25    said after 20 years of the federal sentencing guidelines being
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  1    mandatory, these guidelines have to be advisory because as

  2    mandatory guidelines, however much they did to lead to some

  3    perceived notion of consistency in sentencing, they took away

  4    the fundamental discretion that the judge has.

  5               Now, we're before Your Honor with a sentencing plea

  6    that enables you to sentence this individual anywhere from zero

  7    to 24 months.   Gene Levoff has, during the period of time that

  8    this case has been pending, has done nothing but go out and try

  9    to better himself and those around him.         He has done nothing

 10    but try to, in some way, demonstrate his substantial remorse

 11    for where he found himself and what he has done.           So that has

 12    taken the shape of myriad forms of community service.             Not

 13    community service because I hope this will make the judge think

 14    well of me.   He didn't go to see Dr. Barber as -- as his

 15    therapist because he thought that might help him with Judge

 16    Martini.

 17               What happened here was Dr. Barber happens to be a

 18    person who has been appointed by any number of your colleagues

 19    over the years.    My thought in bringing Dr. Barber into the

 20    matter is this simple:     I don't want to go out and hire an

 21    expert to say good things about Gene.        What will they be able

 22    to say about his diminished capacity?        What will they be able

 23    to say that will curry favor with the court?          What I wanted

 24    from Dr. Barber and what I got from Dr. Barber was the truth.

 25    I just want credibility.     I want to help this guy.
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  1               For almost everybody, an offense of this type would

  2    be the devastating event that ends it for you.           For Gene

  3    Levoff, it was the devastating event that gave him new life;

  4    that taught him what he actually could be; that enabled him to

  5    look inside himself and see the beauty that all these people

  6    that are writing about him saw.

  7               I mean, I will tell you, these letters, I read them

  8    in one fell swoop.    I collected them and read them and I was

  9    moved to tears by these letters because I've never seen -- I've

 10    never seen letters that so uniformly reflect a single thread

 11    about an individual.    The thread about Gene Levoff is if you

 12    need something, he is there for you.

 13               Gene Levoff has lived the principle of we all are

 14    here responsible to walk one another home.           He's lived that.

 15    That's who Gene Levoff is.     Gene Levoff has spent his entire

 16    life, first for years and years and years struggling after a

 17    very difficult, onerous upbringing, all of which is detailed in

 18    the materials that Your Honor has, but in the last five years

 19    on nothing short of a -- an absolute committed odyssey to get

 20    to the bottom of his problems and to resolve them.

 21               Gene Levoff would like nothing more than to continue

 22    doing the kind of community service that he's done.            There's no

 23    amount of community service that Your Honor could impose upon

 24    Gene Levoff that he would not be enormously grateful for.              He

 25    is a person who has internalized the idea that has animated
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  1    thinking for years and years going back to St. Augustine and

  2    through the rule of Benedict that a prayer is work.

  3               He is someone who told me without any -- without the

  4    slightest hint of irony that hauling fifty-pound bags of

  5    potatoes is something that he could literally do and be

  6    fulfilled by.   That's the extent to which he understands this

  7    is a moment when I can do things for people.          This is what's

  8    good for me.

  9               He's not someone who's trying to take care of himself

 10    or get what's best for him.     He's volunteered to go to Ukraine.

 11    You know, he's a Russian immigrant.        Volunteered to go there in

 12    the worst period in history in that part of the world to be of

 13    service.

 14               So yeah, committing a crime like this, it's

 15    frustrating.    It's been frustrating for me.        It was frustrating

 16    for me from the day I met Gene Levoff, flew into Newark Airport

 17    from California and we spent time, hours together that day.

 18    It's been frustrating to me from that day to this because this

 19    is so obviously not your typical criminal case.           It's so

 20    obviously not the typical criminal defendant.           I would be

 21    thrilled for someone to say about myself, or any of my loved

 22    ones, the things people have said about this man.

 23               So here's where we find ourselves.         Your Honor could

 24    sentence Gene Levoff to a sentence of incarceration.            I think

 25    it would derail him.    I think it would derail all the progress
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  1    that he has made, but most importantly, I think it wouldn't fit

  2    his unique crime.

  3                And this is the problem:     If computer adjudication

  4    worked, you could say tell me exactly how much did he do?              And

  5    what was the specific offense?      And where's the statute?

  6                And just put it in the computer, here's what he gets.

  7    For years, between beginning on November 1st, 1987 and ending

  8    with Kimbrough back in 2007, that's what we basically had.

  9    We've got to find a way to get a variance.           We had to find a

 10    way to get a departure from the guidelines.          Some way to

 11    restore the Article 3 judge's discretion, that is the stock and

 12    trade of the Article 3, Judge.

 13                Now we're in a different case and this is a case that

 14    tested to the maximum.     What this case says from my perspective

 15    is do we really -- have we really gotten to the place where we

 16    can look at an offender like Gene Levoff and understand and

 17    truly appreciate where he came from.        Truly appreciate how he

 18    got here and think about what's going to be the best for all

 19    concerns.

 20                Now, I will admit to Your Honor, I struggle at times

 21    to know why insider trading is a crime.         I'll be candid with

 22    you.   I could cite to you a hundred articles from the most

 23    learned folks in the world telling you why it shouldn't be a

 24    crime.   Why those -- the idea of material, nonpublic

 25    information out there is part of the deal.
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  1               THE COURT:    I wouldn't go there.

  2               MR. MARINO:    I know where you are because we made

  3    this motion and you shut it down, right?

  4               THE COURT:    I mean, it's a pretty obvious reason why

  5    it's a crime.

  6               MR. MARINO:    Well, it's obvious if you have a lot of

  7    faith in the rest of what's going on in that system, right?                So

  8    that's for another day, but let's be honest --

  9               THE COURT:    I don't know who's writing these articles

 10    as to why it's not a big deal or why it shouldn't be a crime.

 11               MR. MARINO:    Judge, how many of these people that are

 12    out there and dealing in securities --

 13               THE COURT:    That's why -- wait, wait, wait.            That's

 14    why there's a certain need to deter.

 15               MR. MARINO:    I got that.

 16               THE COURT:    I'm not sure you did.          I mean, that's the

 17    whole -- you know, contrary to what you're saying, the whole

 18    purpose is to deter others who are in similar positions that

 19    have the opportunity to inside trade.

 20               MR. MARINO:    May I ask the Court a question?

 21               THE COURT:    Go ahead.

 22               MR. MARINO:    How much deterrence do you think is

 23    required for someone to get this message?             If you're the guy

 24    that has to tell folks when to trade and not to trade, don't

 25    trade insider trading, don't do that in your own name in
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  1    open -- you know, this isn't the kind of offense that you need

  2    to deter.    This is wacky what he did.       It's not straight up.

  3    It's not something a rational person would do.

  4                You know, I was thinking about, in doing insider

  5    trading, a person might say, in exactly the way Gene Levoff did

  6    it but because he was -- I'm deterred because he got some sort

  7    of draconian sentence.      That doesn't make a lot of sense when

  8    you think about the categorically imperative.

  9                What I'm talking about is take a good hard look at

 10    this guy.    He did something that one does when they are not in

 11    their right mind.      Does it mean that he's passed the McNaughton

 12    test and he couldn't appreciate the wrongfulness of his

 13    conduct?    No.   That's not what we're suggesting and Your Honor

 14    knows this.

 15                But what does it say about him and what would be the

 16    best way -- what would be the most significant way to take this

 17    situation and turn it to a positive?         I suggest to Your Honor

 18    that if you have someone who's lived the unique life experience

 19    that Gene Levoff has and suffer from the diagnosed condition

 20    that Gene Levoff has, think about what you need to do to deter

 21    that person.      But the deterrence argument, it really falls

 22    short when you begin to consider the unique circumstances of

 23    this individual.

 24                Gene Levoff wants to do good things with the rest of

 25    his life.    I have not been involved in any cases where a
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  1    treating physician or a treating psychologist overly and

  2    expressly implores the Court to impose a noncustodial sentence.

  3    I think that's unusual in my experience and I think it's

  4    unusual because at the end of the day, you rarely find someone

  5    in this unique circumstance.

  6               And I will tell you, I get it.        I get completely the

  7    need to deter, the need to punish, the need for rehabilitation.

  8    Nobody has been punished more than Gene Levoff, possibly

  9    punished over the course of the past five years.           And to be

 10    candid, from a deterrence perspective, who in seeing his public

 11    humiliation, who in seeing this person lost everything he had,

 12    his standing in the community, his ability to practice law,

 13    everything that he worked so hard.       The esteem of his friends

 14    and family members.    All of those things, you look at that and

 15    say, man, if that's not enough to deter me from doing what he

 16    did at a time when he had no need to do it, he had plenty of

 17    money.

 18               So, Your Honor, I've had the pleasure of being before

 19    this Court on a few occasions.      I think I have some familiarity

 20    with what a practical, common sense but very thoughtful Court

 21    I'm appearing before, and perhaps I make different arguments in

 22    front of different judges, but I know how Your Honor sees this

 23    sort of thing.   I know the commitment you have to the rule of

 24    law.   Nothing gets advanced, nothing, by Gene Levoff getting a

 25    custodial sentence.
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  1               What he would like is send him to Ukraine.           Give him

  2    hundreds of hours of community service, which he would do

  3    gleefully.

  4               These letters beginning with the Barber reports and

  5    going through all the rest, they really do say it all, Your

  6    Honor.

  7               I don't want to belabor it.       I appreciate you

  8    allowing me to go on at a bit of length.         I think you can see I

  9    have some considerable emotional commitment to it.            I think we

 10    as lawyers, we really do have an enormous privilege and with

 11    it, like with all privileges, comes an enormous responsibility.

 12    I have enormous responsibility of taking Gene Levoff's problems

 13    off his shoulders, to the extent I could, and put them on my

 14    shoulders and the shoulders of my partners, and try to really

 15    present him first to the United States Attorney's Office and

 16    then to this Court in a way that would enable you to see who

 17    we're really dealing with here.

 18               Judge, this is a really good person who did a really

 19    foolish thing; who suffers from four diagnosed illnesses and

 20    who has completely transformed his life.         And what I'm asking

 21    you to do is to give him a chance to continue that work.             Send

 22    him off to do community service.       Let him do the sort of things

 23    that are set forth in these letters.        I know you've read them

 24    and I know how impactful they are.       So that's my -- that's my

 25    plea to Your Honor.
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  1               I appreciate very much the opportunity to make these

  2    remarks.

  3               THE COURT:    Thank you, Mr. Marino.

  4               MR. MARINO:    Thank you, sir.

  5               THE COURT:    Thank you very much.

  6               Mr. Levoff, do you wish to address the Court?            You

  7    can do it from there.     Just use the microphone and speak up,

  8    please.

  9               You could remain seated.      It's okay.      If you're more

 10    comfortable standing, go ahead but you can remain seated.

 11               THE DEFENDANT:    Thank you, Your Honor.

 12               I just want to say how very sorry I am, how -- how

 13    deeply ashamed I am.     And I also want to thank everybody who's

 14    been involved in this process for how very decent and

 15    professional they've been to me from the very beginning and

 16    that's probably more than I deserve.

 17               Thank you, Your Honor.

 18               THE COURT:    All right.    Mr. Haber, do you wish to

 19    address the Court?

 20               MR. HABER:    Yes, please.

 21               THE COURT:    If you want to step forward at the

 22    podium, go ahead, or do it right from your seat.

 23               MR. HABER:    I'll stay here, Your Honor, if that's

 24    okay.   Thank you.

 25               Your Honor, much of our arguments are in our
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  1    sentencing submission.     I'll try not to repeat myself too much.

  2               THE COURT:    I do have a question.

  3               MR. HABER:    Yes.

  4               THE COURT:    I should have asked Mr. Marino.

  5               MR. MARINO:    I'm available, Your Honor.

  6               THE COURT:    I know you are.      Is there any issue of

  7    forfeiture here?

  8               MR. HABER:    There is, Your Honor.        There is -- I

  9    believe my office submitted a forfeiture order.            If I'm

 10    mistaken about that, we will submit one immediately after

 11    sentencing.

 12               THE COURT:    Keith, do we have a forfeiture order?

 13               THE COURT CLERK:     I have nothing on the docket

 14    currently.

 15               MR. MARINO:    We do, Your Honor.

 16               THE COURT:    When you say you have a forfeiture order,

 17    what is that?   $604,000?

 18               MR. HABER:    That's correct, Your Honor.

 19               MR. MARINO:    Correct.

 20               THE COURT:    And it's an order that Mr. Levoff has

 21    agreed.

 22               MR. MARINO:    That is correct, Your Honor.

 23               MR. HABER:    Yes.

 24               THE COURT:    But Mr. Marino, has he made any payments

 25    towards this forfeiture?
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  1               MR. MARINO:    He has made it clear he'll make the

  2    payment the moment it's requested.

  3               THE COURT:    Well, you know, I just saw this in the

  4    presentence report.     I'm saying to myself why hasn't any

  5    payments been made.     He certainly has a net worth that can

  6    easily pay the whole sum.

  7               MR. MARINO:    I can assure Your Honor that Mr. Levoff

  8    would have paid it the moment that he enters plea.            It's not --

  9    there's no doubt.

 10               THE COURT:    Why didn't he?

 11               MR. MARINO:    That's not how it works.

 12               THE COURT:    It does work that way.       I've had cases

 13    where the defendant doesn't dispute the amount in the

 14    forfeiture order, and in good faith they come at sentencing and

 15    it's already been paid or satisfied, or a part of it has been.

 16               MR. MARINO:    You know, Your Honor, I will tell you

 17    this:   It's not from any strategic motive to try to hold on to

 18    the money.   I made clear to them that he's prepared to pay it.

 19               THE COURT:    Well, after he's sentenced, who knows

 20    what his motivation will be as to whether he's going to pay it.

 21               MR. MARINO:    Let me say it this way, Your Honor:

 22    Mr. Levoff --

 23               THE COURT:    You can't represent for him.         You can't

 24    speak on behalf -- no lawyer can say on behalf of their client

 25    he's gonna do it tomorrow.     You're not going to say --
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  1               MR. MARINO:    Should I have him say it?

  2               THE COURT:    You know better than that.

  3               MR. MARINO:    He'll pay it with interest tomorrow.            I

  4    don't mean to suggest that we're off on a --

  5               THE COURT:    That was a glaring thing.        You know, I

  6    read this report and I see his net worth is very substantial

  7    and his loss and gain from this was $604,000.           I would have

  8    thought that a big payment at least would have been made

  9    towards it before sentencing.

 10               MR. MARINO:    If I thought that would have advanced

 11    the ball, he would have paid it day one.         It wasn't strategic.

 12    They never suggested that.

 13               THE COURT:    I know, but if you were sitting as the

 14    judge, you see that and you go, Gee, this guy is really trying

 15    to correct the wrong, and he could have done it a year ago.

 16               MR. MARINO:    He could have done it five years ago.

 17    That's on me, Your Honor.     I had no idea.

 18               I can tell you as an officer of the court, and this I

 19    can say to you, he was prepared to pay it immediately.             He's

 20    never suggested for a moment --

 21               THE COURT:    Can he write a check right now?

 22               MR. MARINO:    He can.

 23               THE COURT:    Okay.   You heard that, Mr. Haber.         You'll

 24    collect a check tomorrow.     Correct?

 25               MR. MARINO:    Yes, you can collect the check later
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  1    today.

  2               THE COURT:    Mr. Levoff, did you hear this?

  3               THE DEFENDANT:    Your Honor, I'll gladly do that.

  4               THE COURT:    Do you?    I mean, if you're going to make

  5    representations in court today, be careful because if you can't

  6    do it or you don't want to do it, that's a factor, you know.

  7               THE DEFENDANT:    Your Honor, I'm absolutely ready to

  8    do that at any time and have been all along.

  9               THE COURT:    Well, then, somewhere along the line you

 10    forgot or somebody forgot.       But, you know, from a judge's point

 11    of view, when you see a loss, it's rare that -- it's not often

 12    that the defendant has the ability to pay it all at once.              You

 13    know, that doesn't happen too often.        So you sign a forfeiture

 14    order and you hope that the person will make payments towards

 15    it.    A lot of times they don't even fulfill the forfeiture

 16    order.   I see that all the time.      But in this case, I saw the

 17    financials here and I'm saying, gee, what's going on.

 18               MR. MARINO:    I can say, Your Honor, that Mr. Levoff

 19    will make the payment irrespective of what sentence Your Honor

 20    imposes and we'll do it tomorrow.

 21               THE COURT:    Okay.    Well, you're on the record, you

 22    can't promise that he'll do it.       He could promise.       He did, he

 23    did.   I don't even think it's a big deal considering his net

 24    worth.

 25               THE DEFENDANT:    Your Honor, I will gladly do this
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  1    immediately.

  2               THE COURT:   Okay.   I just thought we should bring it

  3    up.

  4               Go ahead, Mr. Haber.

  5               MR. HABER:   Thank you, Your Honor.

  6               I think a lot of the arguments that defense counsel

  7    just made to Your Honor are already reflected in the plea

  8    agreement that was entered into between the parties.            As we've

  9    all discussed, the guideline range here is 24 to 30 months and

 10    yet the parties entered into an agreement with a range of zero

 11    to 24 months, and I think many of the arguments that --

 12               THE COURT:   Zero to 20.

 13               MR. HABER:   24 months.

 14               THE COURT:   Is it 24?    Zero to 24.

 15               MR. HABER:   Zero to 24.

 16               THE COURT:   Oh, I thought it was zero to 20.           Okay.

 17    I have to look at it again.

 18               MR. HABER:   I believe that agreement reflects many of

 19    the arguments that Mr. Marino made to this Court.

 20               One of the things that came up during the defense

 21    counsel's presentation, Mr. Marino's presentation, is the idea

 22    that insider trading perhaps is not a serious crime, and I

 23    think, as this Court has already acknowledged, insider trading

 24    calls into question the integrity of the American financial

 25    market.
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  1               THE COURT:   He backed off on that though.          He backed

  2    off on that.

  3               MR. HABER:   But I think it really is important to

  4    note not only does it call into question the integrity of the

  5    markets, but it is also a relatively easy crime to commit.

  6    It's a crime of convenience and it's a very hard crime to

  7    investigate and prove up, which is why in these cases

  8    deterrence is so important and which is why ultimately we do

  9    think that a meaningful term of imprisonment is appropriate

 10    here.

 11               And I will circle back to deterrence shortly but in

 12    terms of the nature of circumstances of this offense, and I

 13    won't get into the nitty-gritty details of the defendant's

 14    conduct, but it was egregious and it lasted over years.             He was

 15    a high-ranking executive within Apple, one of the most elite

 16    companies in the world, and over years had access to inside

 17    information which he traded on for profit over and over again.

 18               And exacerbating the crime was that he was in a

 19    position to, in fact, enforce these rules internally within

 20    Apple that precluded people from trading during blackout

 21    periods and violating insider trading laws and yet he himself

 22    was doing it.

 23               So there's no question that on the spectrum of

 24    insider trading cases and insider trading conduct, this was

 25    truly egregious conduct.
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  1                In terms of the defendant's history and

  2    characteristics, Your Honor, the government takes at face value

  3    Mr. Marino's representations about everything that Mr. Levoff

  4    has done since being arrested and since being charged to deal

  5    with some of his issues, and we commend him for that and for

  6    the steps he has taken to change and, of course, correct his

  7    life.   But ultimately, many of the issues that are outlined in

  8    Dr. Barber's report and that Mr. Marino focused on are,

  9    unfortunately, not particularly extraordinary and not

 10    particularly surprising when you look at defendants that come

 11    before this court and, frankly, when we look at the population

 12    at large.

 13                And, yes, every individual has their own history, has

 14    their own degree of severity when they're dealing with mental

 15    health issues, such as anxiety and depression, but according to

 16    the American Bar Association, which I looked up before

 17    sentencing today, they cite statistics that say approximately

 18    ten percent of Americans deal with depression and that there

 19    are also studies that suggest that depression and anxiety are

 20    even more prevalent among lawyers.       And, anecdotally, I'm sure

 21    we all know lawyers within our profession who have extremely

 22    high-stress jobs at major companies, at firms, and deal with

 23    mental health issues all the time.

 24                Stating the obvious, the vast majority of those

 25    people don't resort to serious felony criminal activity as a
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  1    way to get out of that stress, out of that anxiety.

  2               And while Mr. Levoff's mental health issues are

  3    serious, although, unfortunately, not exceptional for people

  4    that come before this Court, what does make Mr. Levoff unique

  5    of course is that he had the tremendous resources, education,

  6    opportunities to get help through other means unlike many other

  7    defendants that come before this Court.          But instead of taking

  8    that path, he, among other things, chose the path of committing

  9    serious crimes over a long period of time.

 10               The one thing I also wanted to address was this

 11    question of whether this was a greed-driven crime.

 12               THE COURT:     Mr. Haber, when you say --

 13               MR. HABER:     Yes.

 14               THE COURT:     With respect to Counts 1 through 6, it

 15    started July 17, 2015.      One two, three, four -- four counts

 16    were all July 2015 and then October of 2015, and then April

 17    2016.   I mean, those were the six counts, correct?

 18               MR. HABER:     Yes, Your Honor.      I believe the conduct

 19    began as early as July of 2011.

 20               MR. MARINO:     That's just inaccurate.

 21               THE COURT:     Yeah, I mean.     The one he pled to started

 22    in July of 2015.      Four counts were in July of 2015, one count

 23    in October, and then another one in 2016, April.            Those are the

 24    dates of the six counts.      That's all I'm saying.

 25               Now, I don't know whether the conduct began before
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  1    that or after that.     Continued, I don't know.        But when you say

  2    long, you know, I mean, that's a period of time.

  3               MR. HABER:    Even if we were to cabinet it in that

  4    period of time, it's still not a one-off, Your Honor, right?

  5    It's not a single act of desperation.        It's not a single act of

  6    a mistake.   It's not even two acts of desperation or mistake.

  7    It is deliberate conduct over and over again and again, even if

  8    we were to cabinet it to that period of time.

  9               THE COURT:    Okay.

 10               MR. HABER:    The point I was trying to make about

 11    Mr. Levoff's mental health issues, which we certainly do not

 12    take lightly, is that I don't think that that is the only thing

 13    that the Court can look to as to what was driving this.

 14    Mr. Marino argued that this was not a crime of greed.             And

 15    while we certainly recognize that Mr. Levoff did not need the

 16    money, that he had substantial wealth aside from the money that

 17    he made as part of this crime, what his conduct shows, among

 18    other things, is that he did this because he could, because

 19    again, this was a crime of opportunity.

 20               THE COURT:    You know, attorneys in private practice

 21    when they have attorney trust accounts, you're right, there's

 22    an opportunity and they get in trouble for that.           So, I mean,

 23    yes, he had this opportunity there, but what none of us can

 24    figure out is he did it in his own name.         He didn't try to

 25    conceal his conduct.    At least I don't know that from the
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  1    evidence.

  2                So he had -- deep down he had to figure he was going

  3    to get caught.    How could he not get caught eventually?           And he

  4    did.   Very quickly, really, considering everything, which none

  5    of us can have an explanation for.       Dr. Barber tried her best

  6    to figure it out.     And I don't believe there was an unusually

  7    high lifestyle that he was trying to, you know, support by

  8    extra money.   I don't believe that was the case.          There's

  9    nothing in the record to show he was living excessively or high

 10    and therefore he did this for that extra money.           You know, so

 11    it's hard to explain, but go ahead.

 12                MR. HABER:   Your Honor, it is hard to explain and I'm

 13    not sure that anybody, you know, looking back can give a full

 14    explanation of what was driving him here, whether it was

 15    opportunity, whether it was some sense of indignation, I can do

 16    this so I will, or some combination of many factors.

 17                But the bottom line is -- and I think that this feeds

 18    into where I started, which is regardless of what it was, this

 19    is a crime that screams for general deterrence.           And I heard

 20    Mr. Levoff's words of attrition here today and -- and, again,

 21    things people have said about him that are reflected in the

 22    letters, and while it might be that he has learned his lesson

 23    and that there is a very low likelihood of recidivism by him,

 24    insider trading in general, and I think this case specifically,

 25    is one of those cases where the Court can send a message that
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  1    when people are in positions of trust, like the defendant was

  2    here, that there are going to be very serious consequences and

  3    there are going to be consequences that are collateral to the

  4    criminal justice system.     But that when you do commit these

  5    crimes, there will be a term of imprisonment that you are going

  6    to have to serve.

  7               To Mr. Marino's point where he asked, who needs

  8    deterrence -- and I'm paraphrasing.        I think it was something

  9    along the lines, who needs deterrence when they're in the

 10    position to tell people what the rules are.          They obviously

 11    know what the rules are and if they're going to violate those

 12    rules, they're going to violate those rules regardless of what

 13    this Court says and what sentence is imposed here.

 14               But I think on the opposite side of that, I think the

 15    question of if this Court doesn't impose a term of

 16    incarceration in a case like this, people might ask if people

 17    who are lawyers at massive companies like Apple don't get some

 18    term of incarceration for insider trading, then who does?

 19               So with that, Your Honor, we will rest on our briefs

 20    unless the Court has any questions for us.

 21               THE COURT:   Thank you, Mr. Haber.

 22               Both counsel have submitted very thorough and good

 23    sentencing memorandum.     So I appreciate that and of course I

 24    read and consider all of it.

 25               In addition to the guidelines and the 11(c) plea, the
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  1    Court has to consider its duty under 3553 to impose a sentence

  2    that's sufficient but not greater than necessary and the

  3    factors thereunder, the nature and circumstances of the

  4    offense, and the characteristics of the defendant, the need of

  5    sentence to reflect the seriousness of the offense, to afford

  6    adequate deterrence, and to protect the public, et cetera.

  7               Now, I think we all agree the big issue here is

  8    deterrence.   And it's not specific deterrence, it's general

  9    deterrence.

 10               As far the characteristics of the defendant, I have

 11    to agree with Mr. Marino.     The letters that have been submitted

 12    on Mr. Levoff's behalf are extraordinary.            I mean -- and these

 13    are not just letters that were written since his conduct that

 14    is before this Court on.     A lot of the letters reflect conduct

 15    that he exhibited years before this incident to people in a

 16    variety of different ways.     And, you know, each letter is

 17    clearly individual.    I've gotten letters before from lawyers

 18    and they all have a templet, you know, very simple templet.

 19    It's clear the lawyers went out and said, Could you help and

 20    send a letter in, and here's a little bit of a format of

 21    something that you can say.

 22               They don't say it specifically, but they're helping

 23    the people.

 24               That's not the case here.       These letters, each one,

 25    is extraordinary and each one is very individual and most
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  1    importantly, it showed a lot of conduct by the defendant before

  2    these criminal acts.    So they're very -- they're very helpful

  3    to the Court.    No question about it.

  4               Dr. Barber's reports are -- I've gotten her reports

  5    before and it's not often, if I can recall, that she's actually

  6    made a recommendation based on her extensive and long analysis

  7    of Mr. Levoff.    So I mean, that's something that impressed the

  8    Court.

  9               He's been out on supervised release for almost five

 10    years, I think.    It started in February of 2019 and he's been

 11    out on supervised release since then without any incident.              And

 12    to the contrary, since then he's been very involved in

 13    community service.    Now, was that motivated in trying to

 14    impress the Court?    I mean, based on the prior letters of what

 15    he was doing in his life, I don't think so.          I think it may

 16    have been an awakening and freeing experience for him to get

 17    this monkey off his back in some way and, unfortunately, in the

 18    wrong way, but to free him up to be what he wants to be now and

 19    what he demonstrated for a big part of his life, if not all of

 20    his life, a willingness to help others and to be involved in a

 21    lot of very good acts.

 22               Now, the fact is before these letters were received

 23    by the government, the government itself recognized this is a

 24    very challenging case.     Of course, you agreed to an 11(c) that

 25    would agree to a noncustodial up to a 24-month sentence.             And
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  1    you're advocating for jail time and I respect that, but you or

  2    somebody in your office must have also been touched or figured

  3    what was this case really all about.         Okay.    Because I've never

  4    seen a plea like this in an 11(c) where it says zero to 24

  5    months.   It might say 4 to 24 or 6 to 24, but somebody in your

  6    office also recognized what we're all struggling with here, and

  7    that was before the letters which affirm that but for this

  8    crazy conduct -- which none of us can explain because he knew

  9    he was going to get caught.      This was not an insider trading

 10    case where I've had where they do it in a different name, they

 11    do it in an alias or they do it with a relative.            This was the

 12    guy who was supposed to be monitoring this stuff doing it.

 13               So there's some credibility to what Dr. Barber

 14    suggests and what we all say is that he sabotaged himself for a

 15    lot of underlying mental health issues that began when he was

 16    in high school because he dropped out of high school for

 17    depression and mental health issues.         So he's been struggling

 18    with this throughout his adult life.         To his credit, he was

 19    also able to succeed.

 20               Now, will others be deterred if he doesn't go to

 21    jail?   Well, he lost his law degree.        He's not going to

 22    practice law again.     He's been through the process, which is,

 23    I'm sure, emotionally and mentally very challenging for the

 24    last four years.      He's been out of jail for four years, five

 25    years and he's comported himself well.          I don't think any of
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  1    us -- he's genuinely remorseful and he's already long on the

  2    path for rehabilitation.

  3               So sentencing to jail would be okay.          I don't know

  4    how many people in his position wouldn't be deterred by what

  5    he's going through right now.       You know, if they looked at this

  6    case and say, if he doesn't go to jail, we can get away with

  7    it.

  8               No, you can't.    You'll lose your law degree.          You'll

  9    lose your position.    You'll lose your prestige.         You're going

 10    to pay forfeiture.    And in this case, he's years on the road to

 11    rehabilitation and we've got a very prestigious doctor's

 12    report, a doctor who's prestigious who I've had her reports

 13    before and rarely has said what she has concluded here about

 14    Mr. Levoff.

 15               So in terms of a general deterrence, I can't imagine

 16    a sentence short of -- and like I said, the government --

 17    someone said, you know, this is a difficult case because

 18    they're recommending zero to 24 months.         I've never seen that

 19    before.   And I'm not saying the government was wrong to do that

 20    but the government did that before all of the materials I have

 21    in front of me, letters, all of which are individual without

 22    question and show conduct that existed long before this

 23    incident and has continued ever since and even more so now.

 24               So because of that, I don't see that a custodial

 25    sentence will actually do any further deterrence.            I can't
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  1    imagine that somebody in a similar position would look at this

  2    and say, well, this was not -- he didn't go to jail.            Well, the

  3    sentence I am going to impose is going to impose considerable

  4    other requirements on him that are going to be substantial.

  5               So with those comments, Mr. Levoff, I'm going to

  6    impose sentence.

  7               I'm going to take a five-minute break.          Okay.    Just,

  8    if you don't mind, let me come back out and finish my thoughts.

  9    I'll see you in five minutes.       Just recess for five minutes.

 10    Five, ten, minutes.     Don't disappear.

 11               THE COURT CLERK:    Remain seated.

 12                                  (Recess.)

 13               THE COURT CLERK:    Remain seated.

 14               THE COURT:    All right.    Thank you for your patience.

 15               Would Mr. Levoff please rise.

 16               Pursuant to the Sentencing Reform Act of 1984, and

 17    the Rule 11 (c)(1)(C) of the Federal Rules of Criminal

 18    procedure, and 18 U.S.C. 3553(a), it's the judgment of the

 19    Court that Gene Levoff is hereby placed or sentenced to

 20    probation for a term of four years.

 21               While on probation, you must not commit another

 22    federal, state or local crime; must refrain from any unlawful

 23    use of a controlled substance; must cooperate in the collection

 24    of DNA as directed by probation.

 25               You must comply with the standard conditions adopted
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  1    by the court as set forth below.

  2               Based on information presented, you're excused from

  3    the mandatory drug testing provision.        However, you may be

  4    requested to submit to drug testing as necessary by probation.

  5    In as much as the defendant has agreed here in open court to

  6    pay forfeiture, the Court will order as a condition of

  7    probation that forfeiture of $604,000 be paid within ten days.

  8               It is further ordered of the Court as a condition of

  9    probation that location monitoring is imposed for a period of

 10    six months and payment is not waived for the expense of that

 11    program.   The details of that program will be sent in the

 12    judgment in more detail.

 13               It's further ordered that community service in the

 14    amount of 2,000 hours is ordered.       You must contribute those

 15    2,000 hours of community service over the period of probation

 16    or less from the date that probation commences.           Such service

 17    shall be without compensation with the specific work placement

 18    to be approved by the U.S. Probation Office.

 19               It's further ordered that you undergo treatment at a

 20    mental health program approved by the probation office until

 21    discharged by the Court.     Again, details of that will be set

 22    forth in the order.

 23               It's further ordered that you must pay to the United

 24    States a total fine of $60,000, $10,000 per count on Counts 1

 25    through 6.   The fine is due immediately and it is
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  1    recommended -- well, the fine is due immediately or within 30

  2    days of today's date.

  3               You must notify the U.S. Attorney of any change in

  4    address, and it's also further ordered that you pay the United

  5    States a total special assessment of $600.           That's is due

  6    immediately.   That's a hundred dollars per count.

  7               Just a moment.

  8               It's $5,000 per count?

  9               MR. FAVAZZA:    That's what we discussed.

 10               THE COURT:   So a total amount of $30,000.          The record

 11    should reflect my misstatement and I'm correcting it by saying

 12    a total amount of $30,000.     Correct.

 13               I further advise you have the right to appeal this

 14    sentence and if you're unable to pay, you may request the clerk

 15    of the court to file a notice of appeal on your behalf.

 16               The remaining counts will be dismissed.           Is that

 17    correct, Mr. Haber?

 18               MR. HABER:   Yes, Your Honor.

 19               THE COURT:   And that's -- what -- 7 through 12, I

 20    believe it is.

 21               MR. HABER:   I believe that's correct.         I'll double

 22    check.

 23               Yes, that's correct.

 24               THE COURT:   All right.     So you'll move to dismiss

 25    those, correct?
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  1               MR. HABER:    The government moves to dismiss those

  2    counts, correct.

  3               THE COURT:    It is so ordered then.       Okay.    That is

  4    the sentence of the Court.

  5               THE COURT CLERK:      Have we dealt with special

  6    conditions?

  7               THE COURT:    I just did.    Those are the conditions of

  8    his probation.

  9               I'm not going to do financial disclosure.           It's not

 10    required, unless the government requires that.           I don't believe

 11    so.

 12               MR. HABER:    No, Your Honor.     We defer to the Court on

 13    that.

 14               THE COURT:    Okay.   If there's nothing else, we'll be

 15    in recess.    All right?

 16               MR. MARINO:     Thank you very much, Your Honor.

 17               THE DEFENDANT:     Thank you, Your Honor.

 18               THE COURT CLERK:      Court is in recess.

 19                          (Time noted: 2:35 p.m.)

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  1           ------------------------------------------------

  2           I certify that the foregoing is a correct transcript

  3    from the record of proceedings in the above-entitled matter.

  4

  5

  6    /S/Diane DiTizii, CCR, CRR, RMR                      12/13/2023

  7    Federal Official Court Reporter                         Date

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                                                Criminal No. i-C     ?fo
                                                15 U.S.C. § 78j(b) and 78ff
                                                17 C.F.R. § 240. lOb-S and 240.10b5-2
  GENE LEVOFF                               :   18 U.S.C. § 1343 and 2



                                    INDICTMENT

              The Grand Jury in and for the District of New Jersey, sitting at

 Newark, charges:

                            COUNTS ONE THROUGH SIX
                                (Securities Fraud)

                          Relevant Individuals and Entities

              1.     At all times relevant to this Indictment:

                     a.     Company-i was a global technology company

 headquartered in Cupertino, California that designed, developed, and sold

 consumer electronics, computer software, and online services. Company-i was

 a publicly traded company whose securities were listed on the NASDAQ Stock

 Market.

                     b.     Defendant GENE LEVOFF (“LEVOFF”) was employed

 by Company-i at its headquarters in Cupertino. From in or around 2008

 through in or around 2013, LEVOFF, an attorney, was the Director of

 Corporate Law at Company-i. From in or around 20i3 through September

 2018, LEVOFF was the Senior Director of Corporate Law at Company-i. In
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 that role, LEVOFF functioned as the top corporate attorney at Company-i,

 reporting directly to Company-i’s General Counsel. Among other things,

 LEVOFF was responsible for overseeing Company-i’s compliance with

 securities laws, which included advising others regarding U.S. Securities and

 Exchange Commission (the “SEC”) filings and financial reporting. In or around

 February 2018, Company-i named LEVOFF its Corporate Secretary, a title he

 maintained until September 2018. Before that, LEVOFF held the role of

 Assistant Secretary.

                    c.    LEVOFF’s responsibilities included ensuring

 compliance with Company-i’s Insider Trading Policy. Company-i’s Insider

 Trading Policy prohibited the unauthorized disclosure of any nonpublic

 information acquired in the work place and the misuse of material nonpublic

 information in securities trading (“Company-i’s Insider Trading Policy”).

                    d.    From in or around September 2008 through in or

 around July 2018, LEVOFF served on Company-i’s Disclosure Committee,

 and, as a result, had access to and obtained Company-l’s draft SEC filings and

 earnings materials before Company-i disclosed its quarterly and yearly

 financial results to the public. LEVOFF served as one of the Disclosure

 Committee’s co-chairpersons from in or around December 2012 through in or

 around July 2018. As a Disclosure Committee member and high-ranking

 Company-i employee, LEVOFF owed a fiduciar duty to Company-i and its

 shareholders to protect the material nonpublic information regarding

 Company-i to which he had access. LEVOFF further owed Company-l and its


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 shareholders a duty not to use such material nonpublic information for his

 own personal benefit. Additionally, LEVOFF was subject to certain company-

 imposed “blackout periods” that prohibited him and others like him with

 access to material nonpublic information regarding Company-i from engaging

 in trades involving Company- 1 stock.

                    e.    First Republic Securities Company, LLC (“First

 Republic”) was a brokerage firm based in San Francisco, California that

 provided various investment services, including online investing. LEVOFF

 maintained an account with First Republic (the “First Republic Account”) that

 he used, among other things, to buy and sell securities, including Company-l

 stock.

                    f.    TD Ameritrade was a brokerage firm based in Omaha,

 Nebraska that provided online investing services for institutions and

 individuals. LEVOFF’ maintained a brokerage account with TD Ameritrade (the

 “TD Ameritrade Brokerage Account”) that he used, among other things, to buy

 and sell securities, including Company- 1 stock.

                    g.    Virtu Americas, LLC, f/k/a KCG Americas LLC, f/k/a

 Knight Capital Markets (“Virtu”) was a market maker    —   i.e., a firm that stands

 ready to buy and sell a particular stock on a regular and continuous basis at a

 publicly quoted price, thus providing liquidity to the market. The servers that

 housed Virtu’s electronic trading systems and executed trades involving those

 systems were located in New Jersey.




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                    h.    Susquehanna International Group, f/k/a G1

 Execution Services, LLC (“01”) was a market maker. The servers that housed

 Gi’s electronic trading systems and executed trades involving those systems

 were located in New Jersey.

                    i.    BNY Mellon Capital Markets, LLC (“BNY Mellon”) was a

 market maker. The third-party affiliate servers that housed BNY Mellon’s

 electronic trading systems were located in New Jersey.

                    j.    Two Sigma Securities, LLC (“Two Sigma”) was a market

 maker. The servers that housed Two Sigma’s electronic trading systems and

 executed trades involving those systems were located in New Jersey.

                             The Insider Trading Scheme

              2.    Prom in or around February 2011 through in or around April

 2016, LEVOFF orchestrated a scheme to defraud Company-i and its

 shareholders by misappropriating material nonpublic information regarding

 Company-i’s financial results in order to execute favorable trades involving the

 securities of Company- 1.

                                 Goal of the Scheme

              3.    The goal of the insider trading scheme was for LEVOFF to

 enrich himself by obtaining money and avoiding losses by purchasing and

 selling Company-i securities on the basis of material nonpublic information

 regarding Company-i gained by LEVOFF through his position at Company-i.




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                 Manner and Means of the Insider Trading Scheme

             4.      The manner and means by which LEVOFF accomplished the

 goal of the insider trading scheme included:

                     a.   LEVOFF used his position on Company-i’s Disclosure

 Committee to obtain material nonpublic information regarding Company-i’s

 financial results before Company-i disclosed that information to the public.

                     b.   LEVOFF converted the material nonpublic information

 to his own use by executing trades involving Company-i stock in the TD

 Ameritrade Brokerage Account and the First Republic Account before

 Company-i disclosed its financial results to the public. When LEVOFF’

 discovered that Company- 1 had strong revenue and net profit for a given

 financial quarter, he purchased large quantities of Company-i stock, which he

 later sold for a profit after Company-i disclosed the positive earnings

 information to the public and the market reacted to the news. Conversely,

 when LEVOFF’ learned that Company- 1 had lower-than-anticipated revenue

 and net profit, he sold large quantities of Company-i stock, thus avoiding the

 significant losses that would occur after Company-i disclosed the information

 to the public and the market reacted to the negative news regarding Company

 l’s earnings.

                     c.   LEVOFF executed, and caused to be executed, a

 number of trades, referenced herein, with market maker counterparties whose

 electronic trading systems or servers were located in the District of New Jersey,

 namely, Virtu, Cii, BNY Mellon, and Two Sigma.


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                    d.    LEVOFF executed the favorable trades involving

 Company-i stock in violation of Company-i’s Insider Trading Policy and during

 Company-i black out periods.

                    e.    LEVOFF executed trades in furtherance of the scheme

 from at least as early as April of 2011 through at least as late as April of 2016,

 realizing profits of approximately $227,000 and avoiding losses of

 approximately $377,000.

             5.     On or about the dates set forth below, in the District of New

 Jersey and elsewhere, the defendant,

                                  GENE LEVOFF,

 did willfully, arid knowingly, directly and indirectly, by use of the means and

 instrumentalities of interstate commerce, and of the mails and the facilities of

 national securities exchanges, use and employ, in connection with the

 purchase and sale of securities, manipulative and deceptive devices and

 contrivances, in violation of Title 17, Code of Federal Regulations, Section

 240. lob-5, by (a) employing devices, schemes, and artifices to defraud; (b)

 making untrue statements of material facts and omitting to state material facts

 necessary in order to make the statements made, in the light of the

 circumstances under which they were made, not misleading; and (c) engaging

 in acts, practices, and courses of business which operated and would operate

 as a fraud and deceit upon persons, to wit: by executing and causing others to

 execute securities transactions in the securities of Company- 1 on the basis of

 material nonpublic information concerning Company-i in breach of a duty of


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 trust and confidence that was owed directly, indirectly, and derivatively to the

 issuers of those securities, the shareholders of the issuers, and to other

 persons who were the source of the material nonpublic information, each such

 transaction constituting a separate count of this Indictment.

   COUNT      APPROXIMATE                SECURJTJES TRANSACTION
                  DATE

     One       July 17, 2015     Sale of approximately 43,750 shares of
                                 Company-i stock by LEVOFF. Virtu acted as
                                 counterparty to some of these trades.



     Two       July 17, 2015     Sale of approximately 8,700 shares of
                                 Company-i stock by LEVOFF. BNY Mellon
                                 acted as counterparty to some of these
                                 trades.

    Three      July 20, 2015     Sale of approximately 7,000 shares of
                                 Company-i stock by LEVOFF. 01 and Virtu
                                 acted as counterparties to some of these
                                 trades.

     Four      July 21, 2015     Sale of approximately 17,678 shares of
                                 Company-i stock by LEVOFF. Virtu and Two
                                 Sigma acted as counterparties to some of
                                 these trades.

     Five     October 26, 2015    Purchase of approximately 10,000 shares of
                                  Company-i stock by LEVOFF. Two Sigma
                                  acted as a counterparty for some of these
                                  trades.

      Six      April 2 i, 2016    Sale of approximately 4,009 shares of
                                  Company-i stock by LEVOFF. 01 acted as a
                                  counterparty for some of these trades.




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             In violation of Title 15, United States Code, Sections 78j(b) and

 78ff, Title 17, Code of Federal Regulations, Section 240.lOb-5 and 240.10b5-2,

 and Title 18, United States Code, Section 2.




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                         COUNTS SEVEN THROUGH TWELVE
                                   (Wire Fraud)

              1.       The allegations contained in paragraphs 1, 2, and 4 of Count

 One are incorporated as if fully set forth herein.

              2.       On or about the dates set forth below, in the District of New

 Jersey and elsewhere, having devised and intending to devise a scheme and

 artifice to defraud and to obtain money and property by means of materially

 false and fraudulent pretenses, representations and promises, the defendant,

                                    GENE LEVOFF,

 did, for the purpose of executing and attempting to execute the scheme and

 artifice, knowingly and intentionafly cause to be transmitted by means of wire,

 radio, or television communications in interstate and foreign commerce, the

 following writings, signs, signals, pictures, and sounds, to wit, LEVOFF

 schemed to defraud Company-i of confidential information related to

 Company-i’s financial results through deceptive means and then converted

 that information to his own use, through wire transmissions, for the purpose of

 executing securities transactions in Company-i stock.

    COUNT     APPROXIMATE                       WIRE COMMUNICATION
                  DATE

    Seven          July 17, 2015    Sale of approximately 5,000 shares of
                                    Company-i stock by LEVOFF, resulting in
                                    interstate wire transmissions with Virtu.




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    Eight      July 20, 2015     Sale of approximately 2,000 shares of
                                 Company-i stock by LEVOFP, resulting in
                                 interstate wire transmissions with 01.



     Nine      July 20, 2015     Sale of approximately 5,000 shares of
                                 Company-i stock by LEVOFF, resulting in
                                 interstate  wire             with Virtu.
                                                    transmissions




     Ten       July 21, 2015     Sale of approximately 2,000 shares of
                                 Company-i stock by LEVOFF, resulting in
                                 interstate wire transmissions with Virtu.



    Eleven   October 26, 2015    Purchase of approximately 10,000 shares of
                                 Company-i stock by LEVOFF, resulting in
                                 interstate wire transmissions with Two
                                 Sigma.

    Twelve     April 21, 2016    Sale of approximately 4,009 shares of
                                 Company-i stock by LEVOFF, resulting in
                                 interstate wire transmissions with Ci.




             In violation of Title 18, United States Code, Sections 1343 and 2.




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                          FORFEITURE ALLEGATIONS

              1.    As the result of committing the offenses constituting

 specified unlawful activity as defined in 18 U.S.C. § 1956(c)(7), as alleged in

 counts One through Seven, inclusive, of this Indictment, defendant GENE

 LEVOFF shall forfeit to the United States, pursuant to Title 18, United States

 code, Section 981(a)(l)(C), and Title 28, United States code, Section 2461(c),

 all property, real and personal, that constitutes or is derived from proceeds

 traceable to the commission of the conspiracy and securities fraud offenses,

 and all property traceable thereto.

                         SUBSTITUTE ASSETS PROVISION

             2.     If any of the above-described forfeitable property, as a result

 of any act or omission of the defendant:

                    a.    Cannot be located upon the exercise of due diligence;

                    b.    Has been transferred or sold to, or deposited with, a

 third person;

                    c.     Has been place beyond the jurisdiction of the Court;

                    d.     Has been substantially diminished in value; or

                    e.     Has been commingled with other property which

 cannot be subdivided without difficulty;




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 It is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as

 incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of

 the defendant up to the value of the above forfeitable property.




                                                    A TRUE BILL




                                                    Grand Jury rorepeisuii




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 CRAIG CA’EtPENITb
 UNITED STATES ATTORNEY




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  District of New Jersey
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 UNITED STATES OF AMERICA

                       ‘7.

                 GENE LEVOFF
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        INDICTMENT FOR
         15 U.S.C. § 78j(b) and 78ff
17 C.F.R. § 240. lOb-5 and 240. 10b5-2
                                                 2:19-cr-00780-WJM Document




        18 U.S.C. § 1343 and 2
                                                                      Document




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          UNITED STATES ATTORNEY
       FOR THE DISTRICT OF NEW JERSEY
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          COURTNEY A. HOWARD
                                                                                                         of 13




            DANIEL V. SHAPIRO
          ASSISTANT U.S. ATTORNEYS
               NEWARK, NEW JERSEY
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         EXHIBIT C
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       1                    UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
       2   _____________________________

       3   UNITED STATES OF AMERICA,               CRIMINAL NUMBER:

       4               v.                          19-cr-780

       5   GENE LEVOFF,                            PLEA (held remotely)

       6             Defendant.               Pages 1 - 22
           _____________________________
       7        Martin Luther King Building & U.S. Courthouse
                50 Walnut Street
       8        Newark, New Jersey 07101
                Thursday, June 30, 2022
       9        Commencing at 1:00 p.m.

     10    B E F O R E:                THE HONORABLE WILLIAM J. MARTINI
                                       UNITED STATES DISTRICT JUDGE
     11
           A P P E A R A N C E S:
     12
                OFFICE OF THE UNITED STATES ATTORNEY
     13         BY: DANIEL V. SHAPIRO, ASST. UNITED STATES ATTORNEY
                970 Broad Street
     14         Newark, New Jersey 07102
                For the Government
     15
                MARINO TORTORELLA & BOYLE PC
     16         BY: KEVIN HARRY MARINO, ESQUIRE
                437 Southern Boulevard
     17         Chatham, New Jersey 07928
                For the Defendant
     18
           A L S O   P R E S E N T:
     19
                GENE LEVOFF, Defendant
     20         MICHELLE PICKELS, Special Agent

     21

     22               Melissa A. Mormile, Official Court Reporter
                           melissa_mormile@njd.uscourts.gov
     23                             (973) 776-7710

     24

     25




              Proceedings recorded by mechanical stenography;
           transcript produced by computer-aided transcription.
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       1                                    I_N_D_E_X

       2

       3   PLEA PROCEEDINGS

       4   VIDEO CONFERENCING                                                  4

       5   AGREEMENT

       6   FACTUAL BASIS                                                       14

       7

       8

       9   FINDINGS BY THE COURT                                             21

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       1               (PROCEEDINGS held remotely before The Honorable

       2   WILLIAM J. MARTINI, United States District Judge, at 1:00

       3   p.m.)

       4               THE COURT:    Good afternoon, everyone.

       5             Everybody can hear me?

       6               THE COURT REPORTER:    Yes, Judge.

       7               THE COURT:    We're here for the matter of United

       8   States of America v. Gene Levoff.

       9             Can I have the appearances of counsel, please.

     10                MR. SHAPIRO:   Good afternoon, your Honor.

     11              Daniel Shapiro, assistant United States attorney, for

     12    the government.

     13                MR. MARINO:    Good afternoon, your Honor.

     14              Kevin Marino, Marino Tortorella & Boyle, for Gene

     15    Levoff.

     16                THE COURT:    Good afternoon to both of you.

     17              It's my understanding we're here because Mr. Levoff is

     18    offering a plea to six counts of an indictment pursuant to a

     19    criminal procedure 11(c)(1)(C).

     20              Before I begin with that, I want to make sure that the

     21    defendant is aware we're proceeding virtually this way instead

     22    of in court in person.

     23              Mr. Levoff and Mr. Marino, you understand you have a

     24    right, if you wanted to, to have this matter in person here in

     25    court.




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       1            I understand you opted to have this proceeding

       2   virtually as we're doing.

       3            I want to make sure you know you have that right to

       4   come to court and proceed in person.

       5            Do you understand that?

       6              THE DEFENDANT:    Yes, your Honor.

       7            Thank you.

       8              MR. MARINO:    Yes, your Honor.

       9              THE COURT:    Mr. Levoff, you've discussed this with

     10    your lawyer?

     11               THE DEFENDANT:    Yes, your Honor.

     12               THE COURT:    You agreed to proceed virtually the way

     13    we are so far?

     14               THE DEFENDANT:    Yes, your Honor.

     15               THE COURT:    I'm satisfied that he understands he

     16    would have the right to have this proceeding in court.

     17             He is agreeing to have it done by video

     18    teleconferencing.

     19             I will sign that form and file that order with the

     20    Court.

     21             Before we proceed any further, Mr. Levoff, we have to

     22    have you sworn.

     23             Ms. Hansen, would you swear Mr. Levoff, please.

     24

     25                          GENE DANIEL LEVOFF, Sworn:




                             United States District Court
                                  Newark, New Jersey
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       1              THE DEFENDANT:   Gene Levoff.

       2              THE COURTROOM DEPUTY:      Thank you very much.

       3              THE COURT:   Mr. Levoff, please listen to me closely

       4   as I ask you a number of questions.

       5            Could you state what your full name is for the record

       6   again.

       7              THE DEFENDANT:   Gene Daniel Levoff.

       8              THE COURT:   How old are you, sir?

       9              THE DEFENDANT:   48.

     10               THE COURT:   You understand and speak English?

     11               THE DEFENDANT:   Yes, your Honor.

     12               THE COURT:   And do you have any medical or

     13    psychiatric condition, which would interfere your

     14    understanding me today?

     15               THE DEFENDANT:   No, your Honor.

     16               THE COURT:   Have you taken any medications or any

     17    alcohol in the last 24 hours to the extent it would interfere

     18    with your understanding me today?

     19               THE DEFENDANT:   No, your Honor.

     20               THE COURT:   You have an attorney, Mr. Marino.

     21             Are you satisfied with his services?

     22               THE DEFENDANT:   Yes, your Honor.

     23               THE COURT:   I'm sure he provided you with what's

     24    called a copy of the indictment, which is the document which

     25    charges you with a number of crimes, which I'll get into more




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       1   specifically.

       2          The indictment is a document, which sets forth the

       3   criminal felonies against you.

       4          It's returned by a federal grand jury.

       5          Do you understand that?

       6            THE DEFENDANT:     Yes, your Honor.

       7            THE COURT:     The indictment, for the record, I'm sure

       8   you've gone over it with your lawyer thoroughly.

       9          Correct?

     10             THE DEFENDANT:     Yes, your Honor.

     11             THE COURT:     The indictment at the first counts,

     12    Counts One and Six of the indictment, for which I understand

     13    you are offering a plea of guilty today, charges that on or

     14    about the dates set forth in the individual counts, in New

     15    Jersey and elsewhere, you did willfully and knowingly,

     16    directly and indirectly, by use of means and instrumentalities

     17    of interstate commerce, and of the mails and the facilities of

     18    the National Securities Exchanges, use and employ, in

     19    connection with the purchase and sale of securities,

     20    manipulative, and deceptive devices and contrivances, in

     21    violation of our federal law by:

     22           (A) employing devices, schemes, and artifices to

     23    defraud; (b) making untrue statements of material facts and

     24    omitting to state material facts necessary in order to make

     25    the statement made, in the light of the circumstances under




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       1   which they were made, not misleading; and by (c) engaging in

       2   acts and practices and courses of business which operated and

       3   would operate as a fraud and deceit upon persons, to wit:                 by

       4   executing and causing others to execute securities

       5   transactions in the securities of Company 1 on the basis of

       6   material nonpublic information concerning Company 1 in breach

       7   of duty of trust and confidence that was owed directly,

       8   indirectly, and derivatively to the issuers of those

       9   securities, the shareholders of the issuers, and to other

     10    persons who were the source of the material nonpublic

     11    information, each such transaction constituting a separate

     12    count of the indictment.

     13           That's what you are charged with in Counts One through

     14    Six.

     15           Do you understand that?

     16             THE DEFENDANT:     Yes, your Honor.

     17             THE COURT:     Those charges are violations of our

     18    criminal law; specifically, Title 15 Section 78(j) and

     19    10(b)(5) of our criminal code.

     20           Also, you should understand that if I accept your

     21    guilty plea, I understand you are offering your plea pursuant

     22    to a plea agreement worked out with the government pursuant to

     23    criminal procedure Rule 11(c)(1)(C).

     24           You are offering a plea to Counts One through Six,

     25    which I have just read to you.




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       1             And under that plea agreement, the parties have agreed

       2   that between the parties that your sentence would be somewhere

       3   between zero and 24 months.      Also, you would have a three-year

       4   supervised release.

       5             Is that true, Counsel?

       6               MR. MARINO:    That is correct, your Honor.

       7               MR. SHAPIRO:    Yes, your Honor.

       8               THE COURT:    Is that your understanding also, Mr.

       9   Levoff?

     10                THE DEFENDANT:    Yes, your Honor.

     11                THE COURT:    Again, that's assuming the Court accepts

     12    that condition.

     13              I generally do not make that determination today.           I

     14    wait until I see the presentence report and make that

     15    determination.     Obviously, if I don't accept it, you have a

     16    right to go back and go to trial; or to renegotiate a plea

     17    with the government.       I just want you to know I'm not

     18    accepting it today.       Although, most of the time, I will accept

     19    an 11(c) plea, but if I were to find for some reason it's not

     20    acceptable to me, you would have a right to go back to base 1

     21    basically, go to trial or renegotiate another plea.

     22              Do you understand everything I've said so far?

     23                THE DEFENDANT:    Yes, your Honor.

     24                THE COURT:    You should also understand that if you

     25    plead guilty if I accept it today, you face a penalty of up to




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       1   20 years in prison and a fine of up to around $5 million, in

       2   addition to that, a term of supervised release of not more

       3   than three years.    You may receive a term of supervised

       4   release of not more than three years, which would begin at the

       5   expiration of any time in prison you may have to serve.

       6          Do you understand that?

       7               THE DEFENDANT:    Yes, your Honor.

       8               THE COURT:     You should also understand that if you

       9   violate the terms and conditions of supervised release, in all

     10    likelihood you will be faced with either more time on

     11    supervised release or incarceration or both.

     12           Do you understand all of that?

     13                THE DEFENDANT:    Yes, your Honor.

     14                THE COURT:     Of course, there is, also, I understand

     15    an agreement to forfeit a certain amount of funds.

     16           Is that correct, Counsel?

     17                MR. MARINO:     That is right, your Honor.

     18                MR. SHAPIRO:    Yes, your Honor.

     19                THE COURT:     That number is 200?

     20                MR. SHAPIRO:    It is on page 5 of the plea memo.

     21    $604,000.

     22                THE COURT:     There it is.

     23           So under this plea agreement, you agreed to forfeit the

     24    sum of $604,000.

     25           Is that correct?




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       1            THE DEFENDANT:     Yes, your Honor.

       2            THE COURT:     You should also understand that in

       3   federal court there is not what's called parole, which means

       4   that if you do receive a custodial sentence, you will actually

       5   serve in a prison facility, some facility, 85 to 90 percent of

       6   the custodial sentence.

       7          Do you understand that?

       8            THE DEFENDANT:     Yes, your Honor.

       9            THE COURT:     Also, I should ask you:        Are you a

     10    citizen of the United States?

     11             THE DEFENDANT:     Yes, your Honor.

     12             THE COURT:     By pleading guilty, you are also giving

     13    up a number of rights that you have as a defendant being

     14    charged with a felony.     Most importantly, you are giving up

     15    your right to a jury trial, which would be a proceeding in a

     16    courtroom where I am.     At that time 12 citizens would be

     17    empaneled to sit as jurors.      At such a trial, you are presumed

     18    to be innocent and the government would have the burden of

     19    proving the charges against you beyond a reasonable doubt.

     20           Do you understand that?

     21             THE DEFENDANT:     Yes, your Honor.

     22             THE COURT:     They would have to satisfy all 12 jurors

     23    that they met that burden before you could be found guilty.

     24           Do you understand that?

     25             THE DEFENDANT:     Yes, your Honor.




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       1            THE COURT:     The jurors would have to be unanimous.

       2   That means all 12 jurors would have to agree they found you

       3   guilty and the government met that burden.

       4          Do you understand that?

       5            THE DEFENDANT:     Yes, your Honor.

       6            THE COURT:     You should also understand that at such a

       7   trial you have no duty to put forth any defense.             You could

       8   remain silent personally.        You wouldn't have to call any

       9   witnesses or offer any documents.         If you did all of that, the

     10    jury is not to infer any wrongdoing or guilt against you for

     11    remaining silent.

     12           Do you understand that?

     13             THE DEFENDANT:     Yes, your Honor.

     14             THE COURT:     If you wished, I would advise them of

     15    that and instruct them they are not to infer any wrongdoing

     16    against you.   That's a decision you would make at that time if

     17    you went that course.

     18           Do you understand that?

     19             THE DEFENDANT:     Yes, your Honor.

     20             THE COURT:     I also understand that you and the

     21    government have entered into a plea agreement, which is set

     22    forth in a letter dated April 5, 2022.

     23           Isn't that your signature on page 8?

     24             THE DEFENDANT:     Yes, your Honor.

     25             THE COURT:     Did you sign that on May 11, 2022, after




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       1   you read it thoroughly and you went over it thoroughly with

       2   your lawyer?

       3               THE DEFENDANT:   Yes, your Honor.

       4               THE COURT:   You signed it after your lawyer answered

       5   any questions you may have had about this agreement?

       6               THE DEFENDANT:   Yes, your Honor.

       7               THE COURT:   Did you sign it voluntarily without

       8   anybody forcing you to do that?

       9               THE DEFENDANT:   Yes, your Honor.

     10                THE COURT:   You should understand that the agreement

     11    is an agreement between you and the government as to this

     12    disposition of this case.

     13           If somebody made any kind of a promise to you, your

     14    lawyer, the prosecutor, or anybody, agent, that's not in this

     15    agreement, whatever they said to you would not be binding on

     16    the Court or on the proceedings.

     17           Do you understand that?

     18                THE DEFENDANT:   Yes, your Honor.

     19                THE COURT:   You should also understand it's all

     20    important, but when it comes to the sentencing, that's in the

     21    discretion of myself as the Judge.

     22           There are what we call advisory guidelines that are

     23    advisory.

     24           I, of course, consider those along with a lot of other

     25    factors, but if I thought it was a reasonable sentence I could




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       1   sentence you up to the maximum I just plained if I thought it

       2   was reasonable.

       3             Do you understand that?

       4               THE DEFENDANT:   Yes, your Honor.

       5               THE COURT:   I also see that you and the government

       6   have entered into a number of what's called stipulations that

       7   are set forth in page 9 referred to as Schedule A.

       8             Now, those are stipulations between you and the

       9   government mostly as to facts, maybe as to some law.

     10              What you should understand is that if I were to make a

     11    finding that was different than what you have agreed to with

     12    the government, my finding would be final and you would not

     13    have the right to withdraw your guilty plea.

     14              Do you understand that?

     15                THE DEFENDANT:   Yes, your Honor.

     16                THE COURT:   You should also understand, I want to

     17    make sure you understand this -- after I sentence you, you

     18    would have a right to appeal my sentence to a higher court for

     19    review.    However, under page 5, the language in page 5 under

     20    waiver of appeal in postsentencing rights, you are limiting

     21    that right somewhat as per the language in that paragraph.

     22              Did you go over that with your lawyer?

     23                THE DEFENDANT:   Yes, your Honor.

     24                THE COURT:   Are you agreeing to that voluntarily as

     25    well?




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       1            THE DEFENDANT:     Yes, your Honor.

       2            THE COURT:     Mr. Marino, did you fill out the Rule 11

       3   questionnaire?

       4            MR. MARINO:     I don't believe we did, your Honor.

       5            THE COURT:     Ms. Hansen, do you know if they got a

       6   copy of the Rule 11 questionnaire?

       7            THE COURTROOM DEPUTY:       I do not have it.

       8            THE COURT:     We don't have it?

       9          Mr. Shapiro.

     10             MR. SHAPIRO:     I don't have a completed one, but I

     11    could certainly send one to Mr. Marino.

     12           I can pull one down if it hasn't been completed yet.

     13             THE COURT:     Well, why don't you do that after the

     14    proceedings.

     15           Most of what's in that Rule 11 questionnaire, a lot of

     16    it is covered by today, but for the record, I want to have him

     17    fill that out, Mr. Marino --

     18             MR. MARINO:     I will take care of that, your Honor.

     19             THE COURT:     -- sign it and send it in; swear to it

     20    and send it in.

     21           Okay?

     22             MR. MARINO:     Certainly.

     23             THE COURT:     In order for me to determine if I can

     24    accept your guilty plea, I need to know what you did to

     25    violate the law.




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                                  Newark, New Jersey
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       1          Please listen to the questions that will now be asked

       2   of you by the assistant United States attorney.

       3          Depending on your answers, I will determine if I could

       4   accept your guilty plea, please.

       5          Mr. Shapiro.

       6               MR. SHAPIRO:   Thank you, your Honor.

       7          Mr. Levoff, from in or around 2008 through in or around

       8   2013, were you an attorney and the director of corporate law

       9   at Apple?

     10                THE DEFENDANT:   Yes, sir.

     11                MR. SHAPIRO:   From in or around 2013 through

     12    September 2018, were you the senior director of corporate law

     13    at Apple?

     14                THE DEFENDANT:   Yes, sir.

     15                MR. SHAPIRO:   In that role, did you function as the

     16    top corporate attorney at Apple reporting directly to Apple's

     17    general counsel?

     18                THE DEFENDANT:   Yes, sir.

     19                MR. SHAPIRO:   Among other things, were you

     20    responsible for overseeing Apple's compliance with securities

     21    laws, which included advising others regarding SEC filings and

     22    financial reporting?

     23                THE DEFENDANT:   Yes, sir.

     24                MR. SHAPIRO:   In or around February 2018, were you

     25    elevated from the role of assistant corporate secretary to




                             United States District Court
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       1   corporate secretary, a title you maintained until at least

       2   July 2018?

       3            THE DEFENDANT:     Yes, sir.

       4            MR. SHAPIRO:     Did your responsibilities include

       5   ensuring compliance with Apple's insider trading policy?

       6            THE DEFENDANT:     Yes, sir.

       7            MR. SHAPIRO:     Did that insider trading policy

       8   prohibit the unauthorized disclosure of any nonpublic

       9   information acquired in the workplace and the misuse of

     10    material nonpublic information in securities trading?

     11             THE DEFENDANT:     Yes, sir.

     12             MR. SHAPIRO:     From in or around September 2008

     13    through in or around July 2018, did you serve on Apple's

     14    disclosure committee, and, as a result, had access to and

     15    obtained Apple's draft SEC filings and earnings materials

     16    before Apple disclosed its quarterly and yearly financial

     17    results to the public?

     18             THE DEFENDANT:     Yes, sir.

     19             MR. SHAPIRO:     Did you serve as one of the disclosure

     20    committee's cochair persons from in or around December 2012

     21    through in or around July 2018?

     22             THE DEFENDANT:     Yes, sir.

     23             MR. SHAPIRO:     Do you agree that as a disclosure

     24    committee member and high-ranking Apple lawyer, you owed a

     25    fiduciary duty to Apple and its shareholders to protect the




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       1   material nonpublic information regarding Apple to which you

       2   had access?

       3            THE DEFENDANT:     Yes, sir.

       4            MR. SHAPIRO:     Do you agree that you further owed

       5   Apple and its shareholders a duty not to use such material

       6   nonpublic information for your own personal benefit?

       7            THE DEFENDANT:     Yes, sir.

       8            MR. SHAPIRO:     Were you also subject to certain

       9   company-imposed blackout periods that prohibited you and

     10    others like you with access to material nonpublic information

     11    regarding Apple from engaging in trades involving Apple stock?

     12             THE DEFENDANT:     Yes, sir.

     13             MR. SHAPIRO:     As a result of your employment at

     14    Apple, did you obtain material nonpublic information regarding

     15    Apple's financial results before Apple disclosed that

     16    information to the public?

     17             THE DEFENDANT:     Yes, sir.

     18             MR. SHAPIRO:     Did you then convert the material

     19    nonpublic information to your use by executing trades

     20    involving Apple stock in your brokerage accounts before Apple

     21    disclosed its financial results to the public?

     22             THE DEFENDANT:     Yes, sir.

     23             MR. SHAPIRO:     Did you execute the favorable trades

     24    involving Apple stock in violation of Apple's insider trading

     25    policy and during Apple's blackout periods?




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       1               THE DEFENDANT:   Yes, sir.

       2               MR. SHAPIRO:   Did you execute trades in furtherance

       3   of the scheme from at least as early April 2011 through at

       4   least as late as April 2016?

       5               THE DEFENDANT:   Yes, sir.

       6               MR. SHAPIRO:   As a result of this scheme, did you

       7   realize profits of approximately $227,000 and avoid losses of

       8   approximately $377,000?

       9               THE DEFENDANT:   Yes, sir.

     10                MR. SHAPIRO:   Did those trades include the following

     11    which are charged in Counts one through Six of the indictment

     12    criminal number 19-780:

     13           A.    On July 17, 2015, did you sell approximately 43,750

     14    shares of Apple stock while in possession of and relying on

     15    material nonpublic information as described in Count One?

     16                THE DEFENDANT:   Yes, sir.

     17                MR. SHAPIRO:   On July 17, 2015, did you sell

     18    approximately 8,700 shares of Apple stock while in possession

     19    of and relying on material nonpublic information as described

     20    in Count Two?

     21                THE DEFENDANT:   Yes, sir.

     22                MR. SHAPIRO:   On July 20, 2015, did you sell

     23    approximately 7,000 shares of Apple stock while in possession

     24    of and relying on material nonpublic information as described

     25    in Count Three?




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       1            THE DEFENDANT:     Yes, sir.

       2            MR. SHAPIRO:     On July 21, 2015, did you sell

       3   approximately 17,678 shares of Apple stock while in possession

       4   of and relying on material nonpublic information as described

       5   in Count Four?

       6            THE DEFENDANT:     Yes, sir.

       7            MR. SHAPIRO:     On October 26, 2016, did you purchase

       8   approximately 10,000 shares of Apple stock while in possession

       9   of and relying on material nonpublic information as described

     10    in Count Five?

     11             THE DEFENDANT:     Yes, sir.

     12             MR. SHAPIRO:     On April 21, 2016, did you sell

     13    approximately 4,009 shares of Apple stock while in possession

     14    of and relying on material nonpublic information as described

     15    in Count Six?

     16             THE DEFENDANT:     Yes, sir.

     17             MR. SHAPIRO:     Do you agree that when you executed

     18    other trades in the scheme, you did so while in possession of

     19    and relying on material nonpublic information about Apple?

     20             THE DEFENDANT:     Yes, sir.

     21             MR. SHAPIRO:     Do you also agree that you acted

     22    willfully and knowingly and by use of the means and

     23    instrumentalities of interstate commerce in connection with

     24    the trades you placed in furtherance of the scheme described

     25    above and in the indictment?




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       1            THE DEFENDANT:     Yes, sir.

       2            MR. SHAPIRO:     Your Honor, the United States also

       3   represents to the Court that if this matter were to have

       4   proceeded to trial, the United States could be proven each and

       5   every element of the crime charged in Counts One through Six

       6   of the indictment beyond a reasonable doubt on the basis of

       7   independent evidence.

       8          Based on this and the questions that the defendant just

       9   answered, the United States believes that the defendant's

     10    answers to the foregoing questions, coupled with these

     11    representations provide a sufficient factual basis for the

     12    acceptance of this plea of guilty to Counts One through Six of

     13    the indictment.

     14             THE COURT:     Thank you, Mr. Shapiro.

     15           Let me just remind counsel.

     16           With respect to form 11 questionnaire, have your client

     17    sign, fill that out, Mr. Marino and swear to it.

     18           Send it over to Mr. Shapiro.

     19           Mr. Shapiro, if you think there is anything in that

     20    form that I should be aware of that's for some reason

     21    problematic, let us know right away.         Okay?

     22           Then we will file it with the Court.

     23             MR. SHAPIRO:     Yes, your Honor.

     24             THE COURT:     Mr. Levoff, it's my understanding also if

     25    I accept your guilty plea to Counts One through Six, at




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       1   sentencing Count Seven through Twelve will be dismissed.

       2          Is that right, Mr. Shapiro?

       3            MR. SHAPIRO:     Yes, your Honor, at the time of

       4   sentencing.

       5            THE COURT:     How do you plead to Counts One through

       6   Six, Mr. Levoff, guilty or not guilty?

       7            THE DEFENDANT:     Guilty, your Honor.

       8            THE COURT:     Based upon your sworn answers here in

       9   this proceeding, it is the finding of the Court in the case of

     10    United States of America v. Gene Levoff that the defendant is

     11    fully competent and capable of entering an informed plea, that

     12    the defendant is aware of the nature of the charges and the

     13    consequences of the plea, and that the plea of guilty to

     14    Counts One through Six is a knowing and voluntary plea

     15    supported by an independent basis in fact containing each of

     16    the essential elements of the offense.

     17           The plea to those counts is, therefore, accepted and

     18    the defendant is now adjudged guilty of Counts One through Six

     19    of indictment number 19-780.

     20           Do we have a sentencing date?

     21             THE COURTROOM DEPUTY:       November 10th at 11:00 a.m.

     22             THE COURT:     Is there anything else, Counsel?

     23             MR. MARINO:     I don't believe so, your Honor.

     24           We will get the Rule 11 form filed and executed.

     25             THE COURT:     Thank you very much.




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       1            MR. SHAPIRO:      No.

       2            THE COURT:     Good to see you everybody.

       3          Have a good holiday.

       4            MR. SHAPIRO:      Thank you, your Honor.

       5            MR. MARINO:       Thank you very much, your Honor.

       6            THE COURTROOM DEPUTY:         Court is in recess.

       7   (Whereupon the proceedings are adjourned at 1:23 p.m.)

       8                          *           *              *

       9            FEDERAL OFFICIAL COURT REPORTER'S CERTIFICATE

     10

     11             I certify that the foregoing is a correct transcript

     12    from the record of proceedings in the above-entitled matter.

     13

     14    /S/ Melissa A. Mormile RDR, CCR, CRCR                     6/30/2022

     15    Official Court Reporter                                   Date

     16

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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                :     Hon. William J. Martini, U.S.D.J.

                    v.                   :     Crim. No. 19-780 (WJM)

 GENE LEVOFF,                            :     SATISFACTION OF
                                               CRIMINAL FORFEITURE
              Defendant.                 :     MONEY JUDGMENT




       WHEREAS, a criminal forfeiture money judgment was entered in the

 above-captioned action on December 14, 2023 against defendant Gene Levoff

 in the amount of $604,000.00; and

       WHEREAS, said judgment has been paid in full.

       THEREFORE, full and complete satisfaction of said criminal forfeiture

 money judgment is hereby acknowledged, and the Clerk of the Court is hereby

 authorized and directed to make entry on the docket of the full and complete

 satisfaction of said judgment.

       DATED this 22nd day of December, 2023.

                                         PHILIP R. SELLINGER
                                         United States Attorney

                                         s/Joshua L. Haber
                                         By: JOSHUA L. HABER
                                         Assistant United States Attorney
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      REDACTED
